                 Case 2:17-cr-00232-JAM Document 216 Filed 06/06/19 Page 1 of 1


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 6                                       IN THE UNITED STATES DISTRICT COURT

 7                                           EASTERN DISTRICT OF CALIFORNIA

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 9    UNITED STATES OF AMERICA,                             CASE NO. 2:17-cr-00232-GEB
10                              Plaintiff,
                                                            ORDER DIRECTING ENTRY OF BOND
11                  v.                                      FORFEITURE JUDGMENT
12    YANIV GOHAR and OREL GOHAR,
13                              Defendants.
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16             The Court, having reviewed the court files and the United States’ Motion for an Order Directing

17    Entry of Bond Forfeiture Judgment (the Motion), hereby GRANTS the Motion. Accordingly, the Court

18    directs the Clerk of Court to:

19             1.        ENTER judgment in favor of the United States and against defendant Yaniv Gohar for

20    $100,000 and defendant Orel Gohar in the amount of $50,000, plus interest as allowed by law; and

21             2.        APPLY any judgment recoveries to the Crime Victims’ Fund.

22             The Court shall RETAIN jurisdiction to resolve matters through ancillary proceedings in the case,

23    if necessary.

24             IT IS SO ORDERED.

25             Dated: June 6, 2019

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     Order Directing Entry of
30 Bond Forfeiture Judgment
